

People v Bowens (2025 NY Slip Op 02016)





People v Bowens


2025 NY Slip Op 02016


Decided on April 03, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 03, 2025

Before: Manzanet-Daniels, J.P., Moulton, Gesmer, Pitt-Burke, Michael, JJ. 


Ind No. 828/17|Appeal No. 4035|Case No. 2019-05413|

[*1]The People of the State of New York, Respondent,
vKilrail Bowens, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Frank Xiao of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Faith DiTrolio of counsel), for respondent.



Judgment, Supreme Court, New York County (Robert Mandelbaum, J.), rendered March 29, 2019, convicting defendant, after a jury trial, of criminal sale of a controlled substance in the second degree, three counts of criminal sale of a controlled substance in the third degree, criminal possession of a controlled substance in the third and fourth degrees and three counts of criminally using drug paraphernalia in the second degree, and sentencing him to an aggregate term of six years, unanimously affirmed.
Defendant's argument that the undercover officer had no recollection of three of the charged drug sales and therefore that the verdicts as to these counts were against the weight of the evidence finds no support in the record. The record shows that the undercover officer testified credibly and in detail after refreshing her recollection (see People v Boyd , 58 NY2d 1016, 1018 [1983]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 3, 2025








